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                                                                                              02/22/2019


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES, et al.,                      )
       Plaintiffs,                              )       Civil Action No. 3:17-cv-00072
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER, et al.,                        )       By:     Joel C. Hoppe
       Defendants.                              )               United States Magistrate Judge

         This matter is before the Court on a notice filed by non-party James Hart Stern on behalf

  of Defendant National Socialist Movement (“NSM”). ECF No. 413. The Court construes this

  filing as a pro se motion by Mr. Stern asking for leave to excuse NSM’s current counsel of

  record and to “substitut[e]” Mr. Stern as the entity’s “new legal representative.” Id.

         Plaintiffs’ Amended Complaint asserts claims against several Defendants arising out of

  events that occurred in Charlottesville on August 11 and 12, 2017. ECF No. 175. The pleading

  identifies Defendant NSM as an unincorporated association based in Michigan that is subject to

  suit under Virginia Code § 8.01-15. See Am. Compl. ¶ 38. Mr. Stern is not an individual

  defendant to the action. In the motion, Mr. Stern identifies himself Defendant NSM’s

  “President/Director,” but he does not indicate that he is a licensed attorney.

         Although individuals “may plead and conduct their own cases” in federal court, 28

  U.S.C. § 1654, an organization that is a party to a lawsuit “cannot appear pro se as an artificial

  entity in any federal court litigation,” Tweedy v. RCAM Title Loans, LLC, 611 F. Supp. 2d 603,

  605 n.2 (W.D. Va. 2009). Rather, they can “appear in the federal courts only through licensed

  counsel.” Rowland v. Calif. Men’s Colony, 506 U.S. 194, 202–03 (1993). This rule “applies

  equally to all artificial entities,” id., including unincorporated associations. Because Mr. Stern

  does not appear to be a licensed attorney, he cannot represent NSM in this Court. Nor does he



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  himself, as he is neither an attorney nor a party, have authority to file a motion to remove

  Defendant NSM’s current counsel of record from the cause. See W.D. Va. Gen. R. 6(e), (i).

         Accordingly, Mr. Stern’s non-party motion, ECF No. 413, is hereby DENIED without

  prejudice.

         It is so ORDERED.

         The Clerk shall deliver a copy of this Order to all counsel of record and to James Hart

  Stern at his address listed on the motion.

                                                ENTER: February 22, 2019



                                                Joel C. Hoppe
                                                United States Magistrate Judge




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